      Case: 4:20-cv-00156-GHD-JMV
                     IN THE UNITEDDoc #: 105 DISTRICT
                                   STATES    Filed: 11/03/21 1 of 1 PageID #: 308
                                                         COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION



MARCUS WALKER, INDIVIDUALLY
AND ON BEHALF OF THE WRONGFUL
DEATH BENEFICIARIES OF
DE’AUBREY RAJHEEM ROSCOE,
DECEASED                                                                                      PLAINTIFF

VS.                                                   CIVIL ACTION NO. 4:20CV156-GHD-JMV

SHABRIDGET CALDWELL, CITY OF
INDIANOLA POLICE OFFICER,
INDIVIDUALLY AND IN HER OFFICIAL
CAPACITY; ET AL.                                                                          DEFENDANTS



                                                  ORDER

        Consistent with the order [98] continuing the trial, the following deadlines now control:

        Plaintiff’s Expert Designation Deadline - November 11, 2021
        Defendants’ Expert Designation Deadline – December 11, 2021
        Discovery Deadline – February 11, 2022
        Daubert and Dispositive Motions Deadline – March 11, 2022

        SO ORDERED this 3rd day of November, 2021.


                                                          /s/ Jane M. Virden
                                                          U.S. Magistrate Judge
